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                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA

 BARRY GEORGE WOODS,                          )      CIVIL ACTION NO. 4:21-CV-1052
             Plaintiff                        )
                                              )
         v.                                   )
                                              )      (ARBUCKLE, M.J.)
 SUPERINTENDENT LAUREL                        )
 HARRY, et. al.,                              )
                 Defendants                   )

                                   ORDER
 (On Defendants’ Motion to Partially Dismiss the Amended Complaint (Doc. 53))

        In accordance with the accompanying memorandum opinion, it is ORDERED

that:

        1.       Defendants’ Motion to Dismiss (Doc. 53) is GRANTED in part and
                 DENIED in part.

        2.       Plaintiff’s 42 U.S.C. § 1983 claims against Defendants in their official
                 capacities are DISMISSED.

        3.       Plaintiff’s 42 U.S.C. § 1983 Eighth Amendment failure to supervise claim
                 is DISMISSED.

        4.       Plaintiff’s 42 U.S.C. § 1983 Eighth Amendment medical care claim is
                 DISMISSED.

        5.       Plaintiff’s 42 U.S.C. § 1983 failure to investigate claim is DISMISSED.

        6.       Plaintiff’s 42 U.S.C. § 1983 claims for violations of prison policy are
                 DISMISSED.

        7.       Plaintiff’s claims under the United Nations Resolutions are DISMISSED.

        8.       Defendants’ Motion to Dismiss Plaintiff’s 42 Pa. C.S. § 8309(a) claim is
                 DENIED.

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     9.       Defendants’ Motion to Dismiss Plaintiff’s Intentional Infliction of
              Emotional Distress claim is DENIED.

     10.      Defendants Harry, Gourley, Becker, Troutman, Nolan, Radziewicz,
              Barnacle and Evans are DISMISSED as parties from this case.

     11.      The Clerk of Court is directed to TERMINATE Defendants Harry,
              Gourley, Becker, Troutman, Nolan, Radziewicz, Barnacle and Evans from
              this case.


Date: December 7, 2023                      BY THE COURT

                                            s/William I. Arbuckle
                                            William I. Arbuckle
                                            U.S. Magistrate Judge




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